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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION

PEGGY HILL                                                                            PETITIONER




VS.                                     4:06CR00281-1 GTE
                                        4:08CV00274 GTE


UNITED STATES OF AMERICA                                                            RESPONDENT

                                               ORDER

        Petitioner has filed a pro se Motion to Vacate, Set Aside, or Correct Sentence pursuant to

28 U.S.C. § 2255. (Docket entry #214.) Petitioner alleges that her trial counsel was ineffective in

failing to file a direct appeal pursuant to her instructions.

        On June 23, 2008 United States District Judge G. Thomas Eisele entered an Order setting

Petitioner’s Motion for an evidentiary hearing on August 5, 2008, and referring the issue of

appointment of counsel to the Court. (Docket entries #227 and #228.) Because an evidentiary

hearing was warranted, the Court “must appoint an attorney to represent a moving party who

qualifies to have counsel appointed under 18 U.S.C. § 3006A.” See Rule 8(c) of the Rules

Governing Section 2255 Proceedings. The Criminal Justice Act, 18 U.S.C. § 3006A, “provides for

the appointment of counsel and the assistance of other individuals, such as expert witnesses, for

indigent defendants.” See Green v. United States, 323 F.3d 1100, 1104 (8th Cir. 2003).

        Throughout the underlying criminal case, Petitioner was represented by retained counsel.

Thus, the Court cannot determine whether Petitioner qualifies for court-appointed counsel under 18

U.S.C. § 3006A. The Court will therefore direct the Clerk to mail a financial affidavit to Petitioner,

which she should promptly execute and return to the Clerk for filing.
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       IT IS THEREFORE ORDERED THAT the Clerk of the Court is directed to mail to

Petitioner a form CJA23 Financial Affidavit. Petitioner should return the fully-completed Financial

Affidavit for filing on or before July 7, 2008.

       Dated this 24th day of June, 2008.




                                                      UNITED STATES MAGISTRATE JUDGE




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